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     HOLLINGSWORTH LLP
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 7
     Attorneys for Defendant
 8   MONSANTO COMPANY
 9
                                  UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
     IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
12   LIABILITY LITIGATION                             Case No. 16-md-02741-VC
13
     This document relates to:
14
     ALL ACTIONS
15

16
              DECLARATION OF JOE G. HOLLINGSWORTH IN SUPPORT OF
17
               MONSANTO COMPANY’S SUPPLEMENTAL MEMORANDUM
18          OF POINTS AND AUTHORITIES REGARDING ANDREOTTI, ET AL.,
           GLYPHOSATE USE AND CANCER INCIDENCE IN THE AGRICULTURAL
19       HEALTH STUDY, JOURNAL OF THE NATIONAL CANCER INSTITUTE (2018)
           IN SUPPORT OF ITS DAUBERT AND SUMMARY JUDGMENT MOTION
20

21          I, Joe G. Hollingsworth, hereby declare as follows:

22          1.     I am an attorney at law and am a member of the law firm of Hollingsworth LLP,

23   counsel for defendant Monsanto Company (“Monsanto”). I make this declaration in support of

24   Monsanto Company’s Supplemental Memorandum of Points and Authorities Regarding

25   Andreotti, et al., Glyphosate Use and Cancer Incidence in the Agricultural Health Study, Journal

26   of the National Cancer Institute (2018) in Support of Its Daubert and Summary Judgment

27   Motion. I make this declaration based on my personal knowledge and, if called as a witness,

28                                                1
         DECL. ISO MONSANTO’S SUPP. MEM. RE 2018 NCI STUDY ISO ITS DAUBERT & SUMM. J. MTN. RE
                   GENERAL CAUSATION TO PLFS’ MOTION TO EXCLUDE (3:16-md-02741-VC)
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 1   would and could testify competently to these matters.
 2          2.      Annexed hereto as Exhibit 1 is a true and correct copy of the Supplemental
 3   Deposition of Christopher Portier (Jan. 12, 2018).
 4          3.      Annexed hereto as Exhibit 2 is a true and correct copy of the Supplemental
 5   Deposition of Alfred Neugut (Jan. 3, 2018).
 6          4.      Annexed hereto as Exhibit 3 is a true and correct copy of the Supplemental
 7   Deposition of Dennis Weisenburger (Jan. 22, 2018).
 8          5.      Annexed hereto as Exhibit 4 is a true and correct copy of the Supplemental
 9   Deposition of Beate Ritz (Jan. 19, 2018).
10          6.      Annexed hereto as Exhibit 5 is a true and correct copy of the Supplemental
11   Deposition of Chadi Nabhan (Jan. 15, 2018).
12          7.      Annexed hereto as Exhibit 6 is a true and correct copy of the Supplemental
13   Deposition of Charles Jameson (Jan. 10, 2018).
14          8.      Annexed hereto as Exhibit 7 is a true and correct copy of the Supplemental Expert
15   Report of Lorelei Mucci (Dec. 21, 2017).
16          9.      Annexed hereto as Exhibit 8 is a true and correct copy of the Supplemental Expert
17   Report of Jennifer Rider (Dec. 21, 2017).
18          10.     Annexed hereto as Exhibit 9 is a true and correct copy of the Supplemental Expert
19   Report of Beate Ritz (Dec. 21, 2017).
20          11.     Annexed hereto as Exhibit 10 is a true and correct copy of the Supplemental
21   Deposition of Lorelei Mucci (Jan. 23, 2018).
22          12.     Annexed hereto as Exhibit 11 is a true and correct copy of the Supplemental
23   Deposition of Jennifer Rider (Jan. 23, 2018).
24          13.     Annexed hereto as Exhibit 12 is a true and correct copy of Exhibit 30-10 to the
25   Supplemental Deposition of Beate Ritz (Jan. 19, 2018).
26          14.     Annexed hereto as Exhibit 13 is a true and correct copy of Exhibit 30-12 to the
27   Supplemental Deposition of Beate Ritz (Jan. 19, 2018).
28                                                2
         DECL. ISO MONSANTO’S SUPP. MEM. RE 2018 NCI STUDY ISO ITS DAUBERT & SUMM. J. MTN. RE
                   GENERAL CAUSATION TO PLFS’ MOTION TO EXCLUDE (3:16-md-02741-VC)
         Case 3:16-md-02741-VC Document 1137-1 Filed 02/16/18 Page 3 of 3




 1          15.    Annexed hereto as Exhibit 14 is a true and correct copy of Exhibit 30-13 to the
 2   Supplemental Deposition of Beate Ritz (Jan. 19, 2018).
 3          I hereby declare under penalty of perjury that the facts set forth herein are true and
 4   correct.
 5          Executed this 16th day of February 2018.
 6

 7                                                     /s/ Joe G. Hollingsworth
                                                       Joe G. Hollingsworth (pro hac vice)
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12                                                     Attorney for Defendant
                                                       MONSANTO COMPANY
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         DECL. ISO MONSANTO’S SUPP. MEM. RE 2018 NCI STUDY ISO ITS DAUBERT & SUMM. J. MTN. RE
                   GENERAL CAUSATION TO PLFS’ MOTION TO EXCLUDE (3:16-md-02741-VC)
